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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

AUTO-OWNERS INSURANCE COMPANY,      )
                                    )
     Plaintiff,                     )
                                    )
v.                                  )        CIVIL ACTION FILE
                                    )        NO. 1:10-CV-03019-SCJ
ROBERT ALSTON MINOR, et al.,        )
                                    )
     Defendants.                    )

PLAINTIFF’S REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

I.   THE POLICIES’ POLLUTION EXCLUSIONS PRECLUDE COVERAGE.

     Both of the policies issued by Auto-Owners contain pollution

exclusion provisions.    Furthermore, in both policies, the

provisions contain two sub-parts.       First, the policies exclude

coverage for property damage “resulting from the actual, alleged

or threatened discharge, release, escape, seepage, migration or

dispersal of pollutants... at or from any premises, site or

location which is or was at any time” owned by any insured.

Separately, the policies exclude coverage for “[a]ny loss, cost

or expense arising out of any... request, demand or order that

any insured or others test for, monitor, clean up, remove,

contain, treat, detoxify or neutralize, or in any way respond to,

or assess the effects of pollutants....”

     From the outset, it must be noted that Defendants have not

addressed the application of the second sub-part, which was

relied upon by Auto-Owners.     Auto-Owners reiterates that the
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Underlying Lawsuit and the discussions and requests leading up to

it constitute a loss, cost or expense arising out of a request

that an insured test for, monitor, clean up and otherwise respond

to the effects of pollutants.      Both policies exclude coverage for

such damages.   Furthermore, Defendants’ failure to oppose the

application of that provision operates as a concession that the

provision applies.    As a result, Auto-Owners seeks a ruling that

no coverage is afforded under the policies as a result of the

“loss, cost or expense” provision of the pollution exclusion.

     Additionally, no coverage is afforded because all damages

sought in the Underlying Lawsuit constitute property damage

resulting from the alleged release, escape, and seepage of

pollutants from a premises owned by an insured.         Defendants

oppose the application of this provision of the pollution

exclusion, but their argument does not apply here.

     Defendants do not contest that the chemicals found on the

Minors’ property constitute “pollutants” as defined by the

policies, nor do they contest that those pollutants escaped,

seeped and/or migrated onto the Minors’ property from property

which they all, at various relevant times, owned.         Because these

elements of the pollution exclusion exist and are uncontested,

the exclusion should be held to apply.       Nonetheless, Defendants

seek to escape the application of the pollution exclusion through

reliance on the decision reached by the Georgia Court of Appeals

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in Kerr-McGee Corp. v. Georgia Cas. & Surety Co., 256 Ga. App.

458, 568 S.E.2d 484 (2002).       For a number of reasons, the case is

not applicable here.

     First and foremost, as Defendants themselves concede, Kerr-

McGee is not binding precedent.        Only one justice joined the

decision, and, therefore, as the Georgia Court of Appeals itself

recognized, “the decision has no precedential value.”            Auto-

Owners Ins. Co. v. Reed, 286 Ga. App. 603, 606, 649 S.E.2d 843,

845 (2008).     For this reason alone, the case is not applicable.

However, even if the case did hold precedential value, it is not

relevant to the issues presented here.

     The decision in Kerr-McGee concerned the assessment of

whether a pollution exclusion, nearly identical to the one at

issue here, applied only when defined “pollutants” were

discharged into the natural, outdoor environment, or whether it

applied when the pollutant at issue was contained within the

walls of the facility designed to hold it.          The Court concluded

that the pollution exclusion was ambiguous on that issue, but

specifically limited the ambiguity to that question: whether the

exclusion applied to all situations, or only where outdoor,

environmental pollution was concerned.

     In this case, such an analysis is inapplicable.            The claims

in the Underlying Lawsuit allege the contamination of outdoor

land.    Even if it could theoretically be accepted, for purposes

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of argument, that the pollution exclusion is ambiguous regarding

its application to situations other than environmental pollution,

any such arguable ambiguity would not apply here.         The

allegations asserted in the Underlying Lawsuit concern the

contamination of the Minor Family’s outdoor, real property - the

contamination of land and ground water due to the seepage,

migration and release of hazardous chemicals which should have

been contained.   The pollution at issue in the Underlying Lawsuit

is precisely the type of environmental pollution that Kerr-McGee

concedes is contemplated by the absolute pollution exclusion.

Under the support of Georgia law, Auto-Owners asserts that the

pollution exclusion is entirely unambiguous, still any potential

ambiguity identified in Kerr-McGee is irrelevant here because,

even under Kerr-McGee, the exclusion would apply.

     Defendants also attempt to argue that Kerr-McGee suggests

that questions surrounding the source of the pollution may create

an ambiguity.   On this issue, Defendants simply are incorrect.

The Kerr-McGee Court limited its substantive discussion to the

indoor versus outdoor/environmental pollution debate, and reached

its decision based solely on that question.        Not only is any

mention of the source of the pollution dicta, but the mention in

this case is a passing reference, at best.        Defendants quote a

passage in the Kerr-McGee decision which, in part, cites Doerr v.

Mobil Oil Corp., 774 So.2d 119 (La. 2000) and North Am. Specialty

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Ins. Co. v. Georgia Gulf Corp., 99 F.Supp.2d 726 (M.D. La. 2000).

Both cases arise out of the state of Louisiana and, therefore,

are not applicable here.     Furthermore, Doerr, like Kerr-McGee,

concerned the indoor versus outdoor pollution question, which is

not at issue here.    Furthermore, the specific passage in Doerr

cited by the Kerr-McGee court was the Doerr court’s discussion of

the Louisiana Insurance Commissioner’s position on the pollution

exclusion.   See Kerr-McGee, 568 S.E.2d at 487, citing Doerr, 774

So.2d at 133-135.    That discussion is of no relevance to this

Georgia Court’s application of Georgia law, especially when

Georgia jurisprudence has clearly established that the pollution

exclusion is unambiguous and would apply here.

     Lastly, Defendants omit mentioning that the passage in which

the Louisiana cases were cited opens with a statement asserting,

as an aside, that the Kerr-McGee Court believes that the presence

of three factors may render the pollution exclusion inapplicable:

(1) that the insured did not cause the pollution, (2) that the

pollution did not originate from the insured’s property, and (3)

that the pollution was not environmental in nature.          Even if the

passage, which is dicta, was arguably instructive (which it is

not), it does not apply here because, at a minimum, factors (2)

and (3) are not present here.      The pollution at issue originated

from Defendants’ property, and the pollution is environmental in

nature As a result, under no plausible reading is the decision in

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Kerr-McGee, or the Louisiana cases it cites, applicable here.

      Defendants have not identified any binding Georgia law which

undermines Auto-Owners’ argument: that the absolute pollution

exclusion is unambiguous as a matter of law, and that it excludes

coverage for the damages alleged in the Underlying Lawsuit.             As a

result, Auto-Owners respectfully requests that this Court rule

that no coverage is afforded for the damages claimed in the

Underlying Lawsuit.

II.   NO COVERAGE IS AFFORDED UNDER THE EXECUTIVE UMBRELLA POLICY.

      Defendants also address the application of the business

property exclusion in the Executive Umbrella Policy.           The

exclusion provides that no coverage is afforded for property

damage resulting from business pursuits or business property.

(Exclusion g.)    Defendants do not cite any support for their

position, but rather set forth hypothetical questions which do

not apply here.

      For example, Defendants state that a reasonable insured

would believe that, if he was found liable for negligently

knocking a can of petroleum on the ground while on business

property, but not as a result of any business pursuit, the

exclusion would apply.      Although Defendants provide no additional

details for assessing the hypothetical situation, it seems likely

that the exclusion under such a circumstance would not, in fact,



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apply.     The exclusion is limited to damages resulting from

business pursuits or business property.          If liability was found

against the insureds, and there was no causal connection between

the damages claimed and the insured’s business pursuits or

property, then it is not likely that the exclusion would apply.

     On the contrary, here, there is a direct and inescapable

causal connection between the business property owned by the

insureds, and the liability allegations asserted against them.

The Underlying Lawsuit alleges that the Minor Family sustained

damages because of and resulting from the business pursuits and,

specifically, the business property owned by Defendants.             The

Minors allege that the damaging chemicals found on their property

originated from the business property owned by Defendants.                It is

only because Defendants owned the business property at issue that

Defendants were sued.       Unlike Defendants’ hypothetical question,

in this case there is an inextricable causal link between their

business property and the claims asserted against them.

     Defendants also present hypothetical questions involving

automobile accidents, but the exclusion specifically addresses

such circumstances.       It is worth mentioning that these

hypothetical questions are completely irrelevant here because no

damages gave been asserted arising from the use of an automobile.

Nonetheless, under the business pursuit and property exclusion,

the Executive Umbrella Policy provides, that:

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          We do cover such injury or damage [otherwise
          excluded by the business pursuit and property
          exclusion]:
          (1) caused by private passenger automobiles
               not used
               (a) for public livery;
               (b) under lease to others; or
               (c) in an automobile sales or repair
                    business of an insured

(Executive Umbrella Insurance Policy, attached to Boice Affidavit

as Exhibits Q-EE, Exclusion (g).)

     Defendants are correct that the Executive Umbrella Policy

does not limit the business pursuit and property exclusion to

business property owned by the insured.       However, the coverage at

issue is liability insurance coverage.       Subject to its terms and

conditions, the Executive Umbrella Policy affords coverage for

the insured’s alleged liability to a third party.         Consequently,

the policy would apply only if damages were sought from the

insured based on some connection that the insured had to the

damages claimed.   Under such circumstances, the Executive

Umbrella Policy makes clear that, where the causal connection

between the insured and his alleged liability is his business

pursuits or business property, then no coverage is afforded.

     Here, as discussed above, the connection between Defendants

and the damages sought from them could not be more closely linked

to their business property.     It is specifically because of,

originating from, and “resulting from” the business property that

the Minor Family has asserted claims against Defendants.

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     The language contained in the business property exclusion is

clear and unambiguous.     Defendants have not provided any support

for their statement that the provision is ambiguous.          Defendants

have not provided two reasonable interpretations of the

provision.   Defendants simply have asserted some hypothetical

circumstances which either can be dismissed entirely as

irrelevant or, at a minimum, illustrate the broad nature of the

exclusion.   Because the damages sought against Defendants

resulted from their business pursuit and business property, no

coverage is afforded under the Executive Umbrella Policy issued

by Auto-Owners.

III. THE MOORE-TURNBULL DEFENDANTS FAILED TO COMPLY WITH THE
     POLICIES’ NOTICE CONDITIONS PRECEDENT TO COVERAGE.

     As Defendants correctly note, the initial question in

assessing whether a notice condition under an insurance policy

has been satisfied is determining whether and when the duty to

notify arose.   Both policies provide specific instruction on this

question.    Under the terms of the Commercial Umbrella Policy, an

insured must provide notice “[w]hen an incident likely to involve

us takes place...”    (See Commercial Umbrella Policies attached to

Boice Affidavit.)    Similarly, under the Executive Umbrella

Policy, the insured must notify Auto-Owners “[w]hen an occurrence

likely to involve us takes place....”       (See Executive Umbrella

Policies attached to Boice Affidavit.)

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     Georgia law makes clear that notice conditions such as those

at issue here are unambiguous and should be applied as written.

See, e.g., South Carolina Ins. Co. v. Coody, 957 F.Supp. 234

(M.D. Ga. 1997).   The sole issue presented in Coody concerned

whether an insured breached the notice requirement of its policy,

relieving the insurer of its duty to defend or indemnify.

     The relevant facts in Coody are presented more fully in a

prior decision, South Carolina Ins. Co. v. Coody, 813 F.Supp.

1570 (M.D. Ga. 1993).    The facts show that South Carolina

Insurance Company sought a declaratory judgment that it had no

duty to defend or indemnify its insured, the T.A. McCord, Jr.,

Trust (“Trust”), under the terms of a comprehensive liability

policy issued to the Trust.     South Carolina Ins. Co. v. Coody,

813 F.Supp. 1570, 1571 (M.D. Ga. 1993).       Under the terms of the

relevant policy, the Trust had a duty, in the event of an

occurrence, to provide written notice of the occurrence “as soon

as practicable.”   Id. at 1579.    Despite its duty under the

policy, the Trust did not provide notice of the pollution which

had been occurring for more than three years after it became

aware that it may be a liable party.      Id.

     The Middle District Court’s subsequent decision in 1997

provides a complete analysis of the insurance company’s notice

argument.   Coody, 957 F.Supp. at 237.      The court began with the

recognition that “[c]ompliance with a prompt notice provision

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acts as a condition precedent to coverage.”        Id. (emphasis

added).   As here, the policy in Coody did not contain full phrase

“condition precedent” when describing the insured’s duty, but

“condition precedent” is not magic language.        The policy in

Coody, just as the policies issued to the Moore-Turnbull

Defendants, proscribed an affirmative duty on the insured,

operating as a condition precedent, that in order for coverage to

apply, the insured must comply with the terms of the policy,

including the requirement of providing notice of an occurrence or

incident as soon as practicable.

     Defendants have not argued that the notice provision is

ambiguous or that it does not constitute a condition precedent to

coverage under the policies.     Rather, the arguments to which

Defendants devote the most attention is their contention that the

discovery of contaminants on the Minors’ Property did not

constitute notice of an incident likely to involve Auto-Owners;

and, further, that they were not aware any lawsuit would be filed

against them.   Neither argument constitutes a valid excuse to the

application of the notice condition or Defendants’ obligations

thereunder.

     First, Defendants oversimplify the discovery of pollution.

It was not that the Minors simply “found contaminants” on their

property.   The Minors found contaminants which were directly



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connected with the operations of a dry cleaning business, which

business was located on Moore’s property, adjacent to the Minor

Property.   (See, generally, Complaint filed in the Underlying

Lawsuit.)   The discovery of these contaminants placed the Minors’

Property on the Hazardous Site Index maintained by the Georgia

Environmental Protection Department, and triggered the immediate

involvement of the Georgia EDP.      (Turnbull 30(b)(6) Depo., pp.

57-58, 77-78, 80-89, 123-124; Underlying Complaint, Exhibit F.)

As a result, the basis for an alleged connection between the

discovered contaminants and Moore’s property, and the possibility

that the Minors may assert liability claims against Defendants,

was apparent from the time of their discovery.

     Setting that issue aside, Defendants further attempt to

excuse their failure to notify Auto-Owners by contending that the

Minors indicated no lawsuit would be filed.        Of course, the

Minors did file a lawsuit against the Moore-Turnbull Defendants,

so any indication that they would not was the result of mistake,

intentional misleading, or a changed mind.       Whatever the reason,

however, the Moore-Turnbull Defendants were not excused from

their obligations under the notice provisions of the policies.

     Georgia law also establishes that the erroneous belief by an

insured that the he would not be liable or that a lawsuit will

not be filed does not excuse the failure to place his insurance

carrier on notice of the incident.       See, e.g., Canadyne-Georgia

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Corp. v. Continental Ins. Co., 999 F.2d 1547 (11th Cir. 1993);

Coody, supra; Acceptance Ins. Co. v. Schafner, 651 F.Supp. 776

(N.D. Ala. 1986); Richmond v. Georgia Farm Bur. Mut. Ins. Co.,

140 Ga. App. 215, 220, 231 S.E.2d 245, 249 (1976).         As the

Georgia Court of Appeals has held, the insured’s potential fault

or liability are precisely the issues which the insurer “must

have reasonable opportunity to investigate with promptness, and

which requires prompt notice of the occurrence.”         Richmond,

supra, citing Bituminous Cas. Corp. v. J.B. Forrest & Sons, Inc.,

132 Ga. App. 714, 717, 209 S.E.2d 6, 9. (1974).        The Georgia

Court of Appeals has noted, “[i]t is immaterial to enforcement of

this condition precedent that [the insured] thought those other

drivers were the cause of the collision and would be liable for

his damages and theirs.    If such common misunderstandings--which

are the heart of every litigation dispute--or any other wrong

idea germinated in the head of one party could alter such plain

contract language as exists in this case, insurance law would be

turned on its head.”    Cotton States Mut. Ins. Co. v. Hipps, 224

Ga. App. 756, 481 S.E.2d 876 (1997).

     Defendants seek to escape the application of the notice

provision by relying on Westport Ins. Corp. v. Atchley, Russell,

Waldrop & Hlavinka, L.L.P., 267 F.Supp.2d 601 (E.D. Tex. 2003).

From the outset, it is worth noting that Westport is a decision

from the United States District Court for the Eastern District of

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Texas, and applies Texas law.     As a result, it is not binding

precedent here, especially in light of the well-established, on

point precedent which has been developed under Georgia law.

     Moreover, and also particularly important, the decision in

Westport does not concern a policy’s notice condition; rather, it

concerns an exclusion of coverage for claims based on acts which

occurred prior to the policy.     Westport, 267 F.Supp.2d at 607.

For this reason alone, the case is not applicable here.          See,

e.g., York Ins. Co. v. Williams Seafood of Albany, Inc., 223 F.3d

1253, 1255 (11th Cir. 2000).

     Finally, the facts and analysis at issue in Westport reveal

that it is irrelevant here.     Westport concerned a coverage

question arising from the application of an exclusion in a

professional liability insurance policy issued to a law firm.

The type of policy and the necessary inquiry at issue in Westport

distinguish it so significantly from the facts at issue here as

to render the case completely inapplicable.        In Westport, as the

excerpts cited by Defendants reveal, the court was required to

determine whether an attorney was able to recognize that he had

committed a professional breach, and whether that breach could

form the basis of a claim against him.       Such an analysis is

entirely different from whether a reasonable insured in the

position of the Moore-Turnbull Defendants would recognize that

the discovery of hazardous chemicals on another’s property,

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allegedly arising from their own property, would be an incident

which may ultimately involve their insurance carrier.

(Interestingly, Defendants make special note that the insured in

Westport was an attorney, in attempt to indicate that a greater

burden may have existed in that case than would be applicable

here.    However, the insured here is an attorney himself, and, in

fact, is sufficiently qualified with insurance issues that he is

representing the Moore-Turnbull Defendants in this action.)

     Ultimately, Defendants have provided no support for an

argument that the notice provisions set forth in the policies

would not apply.      Granting Defendants the greatest benefit of the

doubt, they were aware of an incident likely to involve Auto-

Owners no later than November 2006, and, in fact, were likely

aware of the pollution as early as August, or even March 2005.

(Defendants’ Response Brief, p. 3; Turnbull 30(b)(6) Deposition,

p. 76-77.)     Nonetheless, no notice was provided to Auto-Owners

until May 9, 2008.      (Boice Affidavit, ¶ 6.)       Defendants’ appeal

that the notice came within days of their notice of the filing of

the Underlying Lawsuit is irrelevant, because the policy imposes

a notice obligation on the insureds at the time of the incident,

regardless of when any subsequent lawsuit may be filed.

     Because Defendants failed to comply with the policies’

notice conditions, no coverage is afforded for the damages sought

in the Underlying Lawsuit.

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     This 8th day of October, 2011.

                                       Respectfully submitted,

                                       TALLEY, FRENCH & KENDALL, P.C.

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                                       Michael C. Kendall
                                       Georgia Bar No. 414030

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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

AUTO-OWNERS INSURANCE COMPANY,     )
                                   )
     Plaintiff,                    )
                                   )
v.                                 )         CIVIL ACTION FILE
                                   )         NO. 1:10-CV-03019-SCJ
ROBERT ALSTON MINOR, as            )
Executor of the Estate of          )
HORACE A. MINOR;CHRISTINE          )
MINOR WILLIAMS; REBECCA MINOR,     )
individually and as Executrix      )
of the Estate of John Keith        )
Minor; BRIDGETTE WATTS, as         )
Executrix of the Estate of         )
Hulon L. Minor; SHARON BRIMER,     )
as the Executrix of the Estate     )
of Louise J. Minor; TURNBULL       )
ASSOCIATES, LLLP; CHARLES E.       )
MOORE, JR.; SHELBY ABERNATHY       )
MOORE; and HEREEN PATEL d/b/a      )
VIP CLEANERS, INC.; VIP            )
CLEANERS, INC.,                    )
                                   )
     Defendants.                   )

                        CERTIFICATE OF SERVICE

     I hereby certify that I have this day served a copy of the

within and foregoing Reply Brief in Support of Motion for Summary

Judgment upon the following parties to this matter by

electronically filing the same with the Court via the CM/ECF

system, with the Clerk of Court providing notice to the following

counsel of record:

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This 8th day of October, 2011.



                              s/ Maureen E. Murphy
                            Maureen E. Murphy
